Case 9:11-cr-00033-MAC-ZJH           Document 265        Filed 11/21/11      Page 1 of 2 PageID #:
                                            643




                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §   CASE NO. 9:11-CR-33(4)
                                                  §
 GARY JUSTIN KELLEY                               §

                           MEMORANDUM ORDER
              ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                        ON DEFENDANT’S GUILTY PLEA

        The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

 Judge, for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal

 Procedure. Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule

 of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea

 Before the United States Magistrate Judge [Doc. #206]. The magistrate judge recommended that

 the Court accept the defendant’s guilty plea and conditionally accept the plea agreement. He further

 recommended that the Court finally adjudge the defendant as guilty on Count Twenty-Three of the

 charging Indictment filed against the defendant in this cause.

        The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea [Doc. #206] of the United States

 Magistrate Judge are ADOPTED. The Court defers acceptance of the plea agreement until after

 review of the presentence report.

        It is further ORDERED that, in accordance with the defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the defendant, Gary Justin Kelley, is hereby



                                                -1-
Case 9:11-cr-00033-MAC-ZJH          Document 265       Filed 11/21/11     Page 2 of 2 PageID #:
                                           644



 adjudged as guilty on Count Twenty-Three of the charging Indictment charging violations of Title

 21, United States Code, Section 841(c)(2).


     So ORDERED and SIGNED this 21 day of November, 2011.




                                                  ___________________________________
                                                  Ron Clark, United States District Judge




                                              -2-
